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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SHENZHEN JISU TECHNOLOGY CO
 LTD.,

                        Plaintiff,

                v.                                 Civil Action No. 1:23-cv-15914

 THE PARTNERSHIPS and                              Honorable Jeremy C. Daniel
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Shenzhen Jisu Technology Co Ltd.

(“Plaintiff”), by and through its undersigned counsel, hereby voluntarily dismisses this action

WITHOUT PREJUDICE as to the following Defendant:


 No.        Defendant Name                         Online Marketplaces/Store ID

 56         NVNV                                   A16G91YB25S40H


        Prior to the filing of this notice, Defendant has yet to file an answer or motion for summary

judgment.
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DATED: January 18, 2024                           Respectfully submitted,

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